Case 5:21-cv-00844-XR Document 443 Filed 07/11/22 Page 1 of 2
AO 458 (Rev. 06/09) Appearance of Counsel

UNITED STATES DISTRICT COURT
for the

Western Distict of Texas

TEXAS STATE LULAC,

VOTO LATINO, et al., )
Plaintiff )
v. ) Case No. 5:21-cv-00844-XR
GREGORY W. ABBOTT, et al. )
Defendant )
APPEARANCE OF COUNSEL
To: The clerk of court and all parties of record

I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

TEXAS STATE LULAC, VOTO LATINO, TEXAS ALLIANCE FOR RETIRED AMERICANS, and TEXAS AFT,
Plaintiffs.

Date:
July 11, 2022 /siJames A. Rodman

Attorney’s signature

JAMES A. RODMAN State Bar No. 17139525

Printed name and bar number

RODMAN LAW OFFICE
5608 Parkcrest Drive, Suite 200
Austin, TX 78731

Address

jimrodman@rodmanlawoffice.com

E-mail address

(512) 481-0400

Telephone number

(512) 481-0500

FAX number
Case 5:21-cv-00844-XR Document 443 Filed 07/11/22 Page 2 of 2

CERTIFICATE OF SERVICE

This is to certify that on July 11" 2022, a true and correct copy of the foregoing was served via
the Court’s Notice of Electronic Filing upon all counsel of record.

/s/ James A. Rodman
James A. Rodman

